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               COMPOSITE
                  EXHIBIT 2
     (FILE UNDER SEAL)
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                                                            United States District Court
                                                       For The Southern District of New York

                                                                   Giuffre v. Maxwell
                                                                   15-cv-07433-RWS

***Per Local Rule 26.2, the following privileges are asserted pursuant to British law, Colorado law and NY law.

   DATE          DOC.               FROM                      TO                CC       RELATIONSHIP             SUBJECT MATTER           PRIVILEGE
                 TYPE                                                                      OF PARTIES
2011.03.15     E-Mails      Ghislaine Maxwell       Brett Jaffe, Esq.                   Attorney / Client         Communication re:   Attorney-Client
                                                                                                                  legal advice
2011.03.15     E-Mails      Brett Jaffe, Esq.       Ghislaine Maxwell                   Attorney / Client         Communication re:   Attorney-Client
                                                                                                                  legal advice
2015.01.02     E-Mails      Ross Gow                Ghislaine Maxwell                   Attorney Agent /          Communication re:   Attorney-Client
                                                                                        Client                    legal advice
2015.01.02     E-Mail       Ghislaine Maxwell       Ross Gow                            Attorney Agent /          Communication re:   Attorney-Client
                                                                                        Client                    legal advice
2015.01.02     E-Mail       Ross Gow                Ghislaine Maxwell        Brian      Attorney Agent /          Communication re:   Attorney-Client
                                                                             Basham     Client                    legal advice
2015.01.06     E-Mail       Ghislaine Maxwell       Jeffrey Epstein                     Common Interest           Communication re:   Common Interest
                                                                                                                  legal advice
2015.01.06     E-Mail       Ghislaine Maxwell       Jeffrey Epstein,                    Attorney / Client         Communication re:   Common Interest
                                                    Alan Dershowitz, Esq.                                         legal advice
2015.01.10     E-Mail       Ghislaine Maxwell       Philip Barden, Esq.,                Attorney / Client         Communication re:   Attorney-Client
                                                    Ross Gow                                                      legal advice
2015.01.10     E-Mail       Ghislaine Maxwell       Philip Barden, Esq.                 Client / Attorney         Communication re:   Attorney-Client
                                                                                                                  legal advice
2015.01.09     E-Mails      Ross Gow                Philip Barden, Esq.      G.         Agent / Attorney /        Communication re:   Attorney-Client
2015.01.10                                                                   Maxwell    Client                    legal advice
2015.01.11     E-Mail       Ghislaine Maxwell       Jeffrey Epstein                     Common Interest           Communication re:   Common Interest
                                                                                                                  legal advice
2015.01.11     E-Mail       Philip Barden, Esq.     Ross Gow                 G.         Attorney / Agent /        Communication re:   Attorney-Client
                                                                             Maxwell    Client                    legal advice
2015.01.11     E-Mail       Philip Barden, Esq.     Ghislaine Maxwell        Ross       Attorney / Agent /        Communication re:   Attorney-Client
                                                                             Gow        Client                    legal advice
2015.01.11 –   E-Mails      Jeffrey Epstein         Ghislaine Maxwell                   Common Interest           Communication re:   Common Interest
2015.01.17                                                                                                        legal advice        Privilege



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               Case 1:15-cv-07433-LAP Document 1332-6 Filed 01/08/24 Page 3 of 8




   DATE          DOC.           FROM                    TO               CC     RELATIONSHIP        SUBJECT MATTER           PRIVILEGE
                 TYPE                                                            OF PARTIES
2015.01.13     E-Mail    Ghislaine Maxwell     Jeffrey Epstein                 Common Interest      Communication re:   Common Interest
                                                                                                    legal advice        Privilege
2015.01.13     E-Mail    Philip Barden, Esq.   Martin Weinberg, Esq.           Common Interest      Communication re:   Common Interest
                                                                                                    legal advice        Privilege

2015.01.13     E-Mails   Philip Barden, Esq.   Ghislaine Maxwell       Mark    Attorney / Client    Communication re:   Attorney-Client
                                                                       Cohen                        legal advice
2015.01.21     E-Mail    Ross Gow              Philip Barden, Esq.,            Agent / Attorney /   Communication re:   Attorney-Client
                                               Ghislaine Maxwell               Client               legal advice
2015.01.21 -   E-Mails   Jeffrey Epstein       Ghislaine Maxwell               Common Interest      Communication re:   Common Interest
2015.01.27                                                                                          legal advice        Privilege
2015.01.21-    E-Mails   Ghislaine Maxwell     Jeffrey Epstein                 Common Interest      Communication re:   Common Interest
2015.01.27                                                                                          legal advice        Privilege




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                        Case 1:15-cv-07433-LAP Document 1332-6 Filed 01/08/24 Page 4 of 8




                                                                                      United States District Court
                                                                                 For The Southern District of New York

                                                                                          Giuffre v. Maxwell
                                                                                          15-cv-07433-RWS
                                                                     Ghislaine Maxwell’s Privilege Log Amended as of May 16, 2016

***Per Local Rule 26.2, the following privileges are asserted pursuant to British law, Colorado law and NY law.

   Log ID          DATE          DOC.       BATES             FROM                                  TO               CC       RELATIONSHIP             SUBJECT              PRIVILEGE
                                 TYPE          #                                                                                OF PARTIES             MATTER
     1.        2011.03.15      E-Mails      1000-     Ghislaine Maxwell         Brett Jaffe, Esq.                            Attorney / Client    Communication      Attorney-Client
                                            1013                                                                                                  re: legal advice
     2.        2011.03.15      E-Mails      1014-     Brett Jaffe, Esq.         Ghislaine Maxwell                            Attorney / Client    Communication      Attorney-Client
                                            1019                                                                                                  re: legal advice
     3.        2015.01.02      E-Mails      1020-     Ross Gow                  Ghislaine Maxwell                            Attorney Agent /     Communication      Attorney-Client
                                            1026                                                                             Client               re: legal advice
     4.        2015.01.02      E-Mail       1024-     Ghislaine Maxwell         Ross Gow                                     Attorney Agent /     Communication      Attorney-Client
                                            1026                                                                             Client               re: legal advice
     5.        2015.01.02      E-Mail       1027-     Ross Gow                  Ghislaine Maxwell                 Brian      Attorney Agent /     Communication      Attorney-Client
                                            1028                                                                  Basham     Client               re: legal advice
     6.        2015.01.06      E-Mail       1029      Ghislaine Maxwell         Jeffrey Epstein                              Common Interest      Communication      Common Interest
                                                                                                                                                  re: legal advice
     7.        2015.01.06      E-Mail       1030-     Ghislaine Maxwell         Jeffrey Epstein,                             Attorney / Client    Communication      Common Interest
                                            1043                                Alan Dershowitz, Esq.                                             re: legal advice
     8.        2015.01.10      E-Mail       1044      Ghislaine Maxwell         Philip Barden, Esq.,                         Attorney / Client    Communication      Attorney-Client
                                                                                Ross Gow                                                          re: legal advice
     9.        2015.01.10      E-Mail       1045-     Ghislaine Maxwell         Philip Barden, Esq.                          Client / Attorney    Communication      Attorney-Client
                                            1051                                                                                                  re: legal advice
     10.       2015.01.09      E-Mails      1052-     Ross Gow                  Philip Barden, Esq.               G.         Agent / Attorney /   Communication      Attorney-Client
               2015.01.10                   1055                                                                  Maxwell    Client               re: legal advice
     11.       2015.01.11      E-Mail       1055-     Ghislaine Maxwell         Jeffrey Epstein                              Common Interest      Communication      Common Interest
                                            1058                                                                                                  re: legal advice
     12.       2015.01.11      E-Mail       1055-     Philip Barden, Esq.       Ross Gow                          G.         Attorney / Agent /   Communication      Attorney-Client
                                            1058                                                                  Maxwell    Client               re: legal advice
     13.       2015.01.11      E-Mail       1056-     Philip Barden, Esq.       Ghislaine Maxwell                 Ross       Attorney / Agent /   Communication      Attorney-Client
                                            1058                                                                  Gow        Client               re: legal advice




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                Case 1:15-cv-07433-LAP Document 1332-6 Filed 01/08/24 Page 5 of 8




14.   2015.01.11 –   E-Mails      1059-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication        Common Interest Privilege
      2015.01.17                  1083                                                                                              re: legal advice
15.   2015.01.13     E-Mail       1067-     Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication        Common Interest Privilege
                                  1073                                                                                              re: legal advice
16.   2015.01.13     E-Mail       1069-     Philip Barden, Esq.    Martin Weinberg, Esq.                    Common Interest         Communication        Common Interest Privilege
                                  1073,                                                                                             re: legal advice

                                  1076-
                                  1079
17.   2015.01.13     E-Mails      1068-     Philip Barden, Esq.    Ghislaine Maxwell                Mark    Attorney / Client       Communication        Attorney-Client
                                  1069,                                                             Cohen                           re: legal advice

                                  1074-
                                  1076
18.   2015.01.21     E-Mail       1088-     Ross Gow               Philip Barden, Esq., Ghislaine           Agent / Attorney /      Communication        Attorney-Client
                                  1090                             Maxwell                                  Client                  re: legal advice
19.   2015.01.21 -   E-Mails      1084-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication        Common Interest Privilege
      2015.01.27                  1098                                                                                              re: legal advice
20.   2015.01.21-    E-Mails      1099      Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication        Common Interest Privilege
      2015.01.27                                                                                                                    re: legal advice
21.   2015.04.22     E-mail       7 pages   Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Forwarding           Common Interest Privilege
                                                                                                                                    message from
                                                                                                                                    Martin Weinberg,
                                                                                                                                    labeled “Attorney-
                                                                                                                                    Client Privilege”
                                                                                                                                    with attachment
22.   Various        E-mails                Agent of Haddon,       Agent of Haddon, Morgan &                Agent of attorney and   Attorney work        Attorney Work Product
                                            Morgan & Foreman;      Foreman; Laura Menninger                 Attorney                product
                                            Laura Menninger
23.   Various        E-mails                Mary Borja; Laura      Mary Borja; Laura Menninger              Attorney Work           Attorney work        Attorney Work Product
                                            Menninger                                                       Product                 product
24.   2015.10.21 –   E-mail                 Darren Indyke; Laura   Darren Indyke; Laura Menninger           Attorneys for parties   Common Interest      Attorney Work Product;
      2015.10.22     chain with             Menninger                                                       to Common Interest      Agreement            Common Interest Privilege
                     attachmen                                                                              Agreement
                     t




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                          Case 1:15-cv-07433-LAP Document 1332-6 Filed 01/08/24 Page 6 of 8




                                                                                      United States District Court
                                                                                 For The Southern District of New York

                                                                                           Giuffre v. Maxwell
                                                                                           15-cv-07433-RWS
                                                                     Ghislaine Maxwell’s Privilege Log Amended as of August 1, 2016

***Per Local Rule 26.2, the following privileges are asserted pursuant to British law, Colorado law and NY law.

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                                TYPE            #                                                                                OF PARTIES             MATTER
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   3.      2015.01.02        E-Mails         1020-     Ross Gow                 Ghislaine Maxwell                             Attorney Agent /     Communication      Attorney-Client
                                             1026                                                                             Client               re: legal advice
   4.      2015.01.02        E-Mail          1024-     Ghislaine Maxwell        Ross Gow                                      Attorney Agent /     Communication      Attorney-Client
                                             1026                                                                             Client               re: legal advice
   5.      2015.01.02        E-Mail          1027-     Ross Gow                 Ghislaine Maxwell                  Brian      Attorney Agent /     Communication      Attorney-Client
                                             1028                                                                  Basham     Client               re: legal advice
   6.      2015.01.06        E-Mail          1029      Ghislaine Maxwell        Jeffrey Epstein                               Common Interest      Communication      Common Interest
                                                                                                                                                   re: legal advice
   7.      2015.01.06        E-Mail          1030-     Ghislaine Maxwell        Jeffrey Epstein,                              Attorney / Client    Communication      Common Interest
                                             1043                               Alan Dershowitz, Esq.                                              re: legal advice
   8.      2015.01.10        E-Mail          1044      Ghislaine Maxwell        Philip Barden, Esq.,                          Attorney / Client    Communication      Attorney-Client
                                                                                Ross Gow                                                           re: legal advice
   9.      2015.01.10        E-Mail          1045-     Ghislaine Maxwell        Philip Barden, Esq.                           Client / Attorney    Communication      Attorney-Client
                                             1051                                                                                                  re: legal advice
   10.     2015.01.09 -      E-Mails         1052-     Ross Gow                 Philip Barden, Esq.                G.         Agent / Attorney /   Communication      Attorney-Client
           2015.01.10                        1055                                                                  Maxwell    Client               re: legal advice
   11.     2015.01.11        E-Mail          1055-     Ghislaine Maxwell        Jeffrey Epstein                               Common Interest      Communication      Common Interest
                                             1058                                                                                                  re: legal advice
   12.     2015.01.11        E-Mail          1055-     Philip Barden, Esq.      Ross Gow                           G.         Attorney / Agent /   Communication      Attorney-Client
                                             1058                                                                  Maxwell    Client               re: legal advice
   13.     2015.01.11        E-Mail          1056-     Philip Barden, Esq.      Ghislaine Maxwell                  Ross       Attorney / Agent /   Communication      Attorney-Client
                                             1058                                                                  Gow        Client               re: legal advice




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                Case 1:15-cv-07433-LAP Document 1332-6 Filed 01/08/24 Page 7 of 8




14.   2015.01.11 -   E-Mails      1059-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication         Common Interest Privilege
      2015.01.17                  1083                                                                                              re: legal advice
15.   2015.01.13     E-Mail       1067-     Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication         Common Interest Privilege
                                  1073                                                                                              re: legal advice
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                                  1073,                                                                                             re: legal advice

                                  1076-
                                  1079
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                                  1074-
                                  1076
18.   2015.01.21     E-Mail       1088-     Ross Gow               Philip Barden, Esq., Ghislaine           Agent / Attorney /      Communication         Attorney-Client
                                  1090                             Maxwell                                  Client                  re: legal advice
19.   2015.01.21 -   E-Mails      1084-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication         Common Interest Privilege
      2015.01.27                  1098                                                                                              re: legal advice
20.   2015.01.21-    E-Mails      1099      Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication         Common Interest Privilege
      2015.01.27                                                                                                                    re: legal advice
21.   2015.04.22     E-mail       7 pages   Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Forwarding            Common Interest Privilege
                                                                                                                                    message from
                                                                                                                                    Martin Weinberg,
                                                                                                                                    labeled “Attorney-
                                                                                                                                    Client Privilege”
                                                                                                                                    with attachment
22.   Various        E-mails                Agent of Haddon,       Agent of Haddon, Morgan &                Agent of attorney and   Attorney work         Attorney Work Product
                                            Morgan & Foreman;      Foreman; Laura Menninger                 Attorney                product
                                            Laura Menninger
23.   Various        E-mails                Mary Borja; Laura      Mary Borja; Laura Menninger              Attorney Work           Attorney work         Attorney Work Product
                                            Menninger                                                       Product                 product
24.   2015.10.21 -   E-mail                 Darren Indyke; Laura   Darren Indyke; Laura Menninger           Attorneys for parties   Common Interest       Attorney Work Product;
      2015.10.22     chain with             Menninger                                                       to Common Interest      Agreement             Common Interest Privilege
                     attachment                                                                             Agreement
25.   2015.01.06                                                                                            Attorney/Client         Document              Attorney Work Product;
                                                                                                                                    prepared by           Attorney-Client
                                                                                                                                    Ghislaine             Communication
                                                                                                                                    Maxwell at the
                                                                                                                                    direction of Philip
                                                                                                                                    Barden

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              Case 1:15-cv-07433-LAP Document 1332-6 Filed 01/08/24 Page 8 of 8




26.   2015.01.23                                          Attorney/Client   Document              Attorney Work Product;
                                                                            prepared by           Attorney-Client
                                                                            Ghislaine             Communication
                                                                            Maxwell at the
                                                                            direction of Philip
      I            I   I   I                        I                       Barden                I                        I




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